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             In the United States Court of Federal Claims
                                                )
 ELLEN AND MARK S. BALAGNA, et al.,             )
                                                )
                       Plaintiffs,              )
                                                )    Nos. 14-21L/16-405L (Consolidated)
        v.                                      )
                                                )    (Filed: September 23, 2021)
 THE UNITED STATES OF AMERICA,                  )
                                                )
                       Defendant.               )
                                                )
                                                )
 ROBERT AND SUSAN BATTERTON, et                 )
 al.,                                           )
                                                )
                       Plaintiffs,              )
                                                )
        v.                                      )
                                                )
 THE UNITED STATES OF AMERICA,                  )
                                                )
                       Defendant.               )
                                                )


                                            ORDER

       On September 22, 2021, the parties filed a joint stipulation of voluntary dismissal with
prejudice in Case Number 14-21 pursuant to Rule 41(a)(1)(A)(ii) of the Rules of the Court of
Federal Claims (“RCFC”). See Joint Stipulation of Voluntary Dismissal with Prejudice, ECF No.
245. The caption in the parties’ joint stipulation refers only to Case Number 14-21—however,
the Court consolidated Case Number 16-405 with Case Number 14-21 on September 8, 2016, see
Order, ECF No. 12, Case No. 16-405, and all filings thereafter were docketed in the main case,
Number 14-21. It is the Court’s understanding that the parties’ intent was to stipulate to the
dismissal of both cases.

        Therefore, pursuant to the parties’ stipulation, ECF No. 245, and to RCFC 41(a)(1)(A)(ii)
and RCFC 41(a)(2), both consolidated cases are DISMISSED with prejudice. The Clerk is
directed to enter judgment accordingly.


       IT IS SO ORDERED.



                                                    s/ Elaine D. Kaplan
                                                    ELAINE D. KAPLAN
                                                    Chief Judge
